   Case: 1:20-cv-01036 Document #: 52 Filed: 06/06/20 Page 1 of 3 PageID #:2154




                         IN THE UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION


   General Tools & Instruments, LLC,

           Plaintiff,                                      Case No.: 1:20-cv-01036

   v.                                                      Judge Jorge L. Alonso

   THE PARTNERSHIPS AND                                    Magistrate Judge Susan E. Cox
   UNINCORPORATED ASSOCIATIONS
   IDENTIFIED ON SCHEDULE “A”,

           Defendants.


                                   NOTICE OF DISMISSAL

        Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                     DEFENDANT
                53                                         weestar
                34                                       hallo funny
                464                                        AOCKS
                439                                     CrazyPiercing
                641                                  Weilian Tools Store
                480                                         Eoeth
                567                                sanhooii Official Store
                411                                       MUSHO
   Case: 1:20-cv-01036 Document #: 52 Filed: 06/06/20 Page 2 of 3 PageID #:2155




DATED: June 6, 2020                         Respectfully submitted,

                                            /s/ Keith A. Vogt
                                            Keith A. Vogt (Bar No. 6207971)
                                            Keith Vogt, Ltd.
                                            111 West Jackson Boulevard, Suite 1700
                                            Chicago, Illinois 60604
                                            Telephone: 312-675-6079
                                            E-mail: keith@vogtip.com

                                            ATTORNEY FOR PLAINTIFF
    Case: 1:20-cv-01036 Document #: 52 Filed: 06/06/20 Page 3 of 3 PageID #:2156




                                 CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on June 6, 2020 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
